                        IN THE UNITED STATE DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                  ROME DIVISION

Melanie Hogan Sluder et al.,                    )
                                                )
        Plaintiffs,                             )       Case No. 4:24-cv-00181
                                                )
        v.                                      )
                                                )
Rebecka Phillips, et al,                        )
                                                )
        Defendants.                             )


             Plaintiffs’ Unopposed Motion for an Extension to the Discovery Schedule

        Plaintiffs, by and through their attorneys, move this Honorable Court to grant a three-month

extension of discovery in this case. Despite Plaintiffs’ diligent discovery efforts and enforcement

motions, this case has been stagnated by their inability to obtain documents from those in

possession of them (primarily third-party subpoena respondents). Accordingly, Plaintiffs have been

unable to obtain the discovery they need to prosecute their claims, so they seek an extension of

discovery. This request is unopposed.

        This case was filed on July 23, 2024, by the parents of Alexis Sluder, who died in August

2022, inside of a youth detention facility in Dalton managed and operated by the Georgia

Department of Juvenile Justice (DJJ). Plaintiffs allege that Alexis’s death was the result of deliberate

indifference on the part of DJJ Rebecka Phillips, Maveis Brooks, David McKinney, Monica

Headrick, and Russell Ballard, as well as Gilmer County Sheriff’s Deputy Sharon Ellis. Shortly after

her death, the DJJ launched an internal investigation, and the Georgia Bureau of Investigation (GBI)

launched a criminal investigation. A year after Alexis’s death, the Whitfield County District Attorney

(Whitfield DA) indicted the five DJJ employees who are Defendants in this case.

        Plaintiffs have diligently pursued the evidence they need to prove their claims but have not

been furnished with the necessary records to prosecute their case at the time of this filing. They have

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issued discovery requests on every named Defendant in this case. They have served subpoenas on

the DJJ, GBI, Whitfield DA, and other entities. These efforts have not rendered substantial

production. This is primarily because the third parties who are in possession of most material

discovery in this case—namely the DJJ, GBI, and Whitfield DA—have raised objections to

subpoenas and refused to produce records. This has resulted in frequent conferrals and extensive

discovery motion practice. See e.g., ECF 63, 67, 75, 77, 79, 82.

        Now, Plaintiffs have come to an agreement with the DJJ, GBI, and Whitfield DA that, if the

Court grants DJJ and GBI’s Unopposed Motion for Protective Order (ECF 77), those entities

would produce the records responsive to the subpoena. These records include the video of Alexis’s

death, the related internal investigation report, and other records central to the Plaintiffs’ claims.

        While Plaintiffs are optimistic that their agreement with the DJJ, GBI, and Whitfield DA

presents a path forward through discovery, their initial delays have prejudiced Plaintiffs regarding

the current Scheduling Order. ECF 48. Discovery in this matter closes May 16, 2025, and Plaintiffs

are required by the Local Rules to disclose any experts supporting their claims with enough time to

allow Defendants to produce experts in response to those disclosures before discovery closes.

Plaintiffs have, thus, gone almost the entire discovery period without the evidence most central to

her claims despite their multiple requests, subpoenas, conferrals, and enforcement motions. Their

experts cannot, at this time, be furnished with the necessary information to render a report that

complies with Fed. R. Civ. P. 26(a)(2), and Plaintiffs cannot finalize their discovery efforts in the

next two months when they have hardly been able to obtain, much less take, any discovery at all.

        Accordingly, Plaintiffs request a three-month extension of the discovery deadline such that

the Scheduling Order, ECF 48, is amended as follows:

        a) Discovery to close August 18, 2025.

        b) Summary Judgment Motions due on September 16, 2025.


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        On March 3, 2025, lead counsel for Plaintiffs emailed all defense counsel and asked if they

opposed this extension. Counsel for Defendants Phillips, Brooks, Ballard, Ellis, and McKinney have

confirmed that they did not object to Plaintiffs’ request for this extension. Counsel for Defendant

Headrick has not responded to Plaintiff’s email but has not raised any objection or indicated any

opposition in the eleven days since Plaintiffs’ counsel sent that correspondence.

        In the seven months since this case was filed, Plaintiffs have been unable to obtain discovery

regarding the death of their 16-year-old daughter despite making diligent efforts to do so. Given the

delays outside of Plaintiffs’ control, it would substantially prejudice Plaintiffs if discovery were to

close in sixty days with such a skeletal record. Accordingly, there is good cause to grant Plaintiffs’

motion to extend the discovery deadline. This motion is not brought for purposes of delay or any

other improper purpose.

        Wherefore, for the reasons set forth herein, Plaintiffs respectfully request that this

Honorable Court grant a three-month extension of the current discovery schedule.


        /s/ Sam Harton
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